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                        UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF OKLAHOMA

     1. Ben Curl
     2. Jamey Phillips
     3. Maria Brannon                                  Case No.

                Plaintiffs,

v.
                                                       ATTORNEY LIEN CLAIMED
     1. James Lytal,
     2. L & Y Group LLC, an Oklahoma
        Limited Liability Company

                Defendants.

                                           COMPLAINT

        COMES NOW the Plaintiffs Ben Curl, Jamey Phillips, and Maria Brannon, by and through their

attorney of record, Caleb M. Salmon, of the SALMON LAW FIRM, and for their claims against Defendants

James Lytal and L&Y Group LLC, allege and state as follows:

                                                 PARTIES

     1. That Plaintiff Benjamin Curl was, at all times pertinent to this action, employed by Defendants

        within the Northern District of Oklahoma. Furthermore, Plaintiff Curl was domiciled in Ohio at

        all times relevant hereto.

     2. That Plaintiff Jamey Phillips was, at all times pertinent to this action, employed by Defendants

        within the Northern District of Oklahoma. Furthermore, Plaintiff Phillips was domiciled in

        Oklahoma at all times relevant hereto.

     3. Plaintiff Maria Brannon was, at all times pertinent to this action, employed by Defendants within

        the Northern District of Oklahoma. Furthermore, Plaintiff Brannon was domiciled in Georgia at

        all times relevant hereto.
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   4. That Defendants James Lytal is a resident of the Northern District of Oklahoma and domiciled

      therein.

   5. That L & Y Group LLC has members who are residents of the Northern District of Oklahoma

      and domiciled therein.

                                  JURISDICTION AND VENUE

   6. This is a civil action brought pursuant to Section 16(b) of the Fair Labor Standards Act of 1938

      regarding unpaid wages and overtime, as amended 29 U.S.C. §201 et seq.

   7. Plaintiff Maria Brannon also brings forth a claim against Defendants under Title VII of the Civil

      Rights Act of 1964, as amended 42 U.S.C. §§2000 et seq.

   8. Venue is proper in this district and division under 29 U.S.C. §201 et seq. and 42 U.S.C. §§2000

      et seq. because the unlawful employment practices and discrimination occurred within this

      district and division by a Defendants residing in this district and division.

   9. Defendants are “employers” within the meaning of the FLSA and Plaintiffs are “employees

      engaged in commerce” within the meaning of the FLSA.

   10. Plaintiffs are entitled to the protection afforded by the minimum wage and overtime provisions

      of the FLSA and have standing under Section 16(b) of the Act to maintain this action.

   11. Jurisdiction is vested in this Court pursuant to 28 U.S.C. § 1331, 29 U.S.C. § 216(b), and 42

      U.S.C. §2000e-5(f); venue properly rests in this Court under 28 U.S.C. § 1391(b), (c).

   12. Plaintiff Maria Brannon timely filed a charge with the Equal Employment Opportunity

      Commission (hereinafter “E.E.O.C.”) and gave the agency ample information in which they

      could investigate her legal claims and informed the agency of other evidence or information

      within her control.
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   13. Plaintiff Brannon was given the right to sue letter on October 30, 2019. This action is timely

      filed within ninety days of receipt of the right to sue letter.

                                                 FACTS

   14. Plaintiffs incorporate the foregoing paragraphs as if realleged and restated herein.

   15. On or about January 18, 2019, Plaintiff Benjamin Curl began his employment as an employee

      of Defendants.

   16. Defendants ended Plaintiff Benjamin Curl’s employment on March 27, 2019 and refused to pay

      him his final paycheck.

   17. On or about January 16, 2019, Plaintiff Jamey Phillips began his employment as an employee of

      Defendants.

   18. Defendants ended Plaintiff Jamey Phillips’s employment on March 26, 2019 and refused to pay

      him his final paycheck.

   19. On or about February 1, 2019, Plaintiff Maria Brannon began her employment as an employee

      of Defendants.

   20. On or about April 1, 2019, Plaintiff’s immediate supervisor, an employee of Defendants, stated

      that Plaintiff Maria Brannon was not fit for her job because she was a woman and terminated her

      employment and refused to pay her the final paycheck.

   21. During their course of respective employment with Defendants, Plaintiffs regularly performed

      work in excess of forty (40) hours per week on behalf of Defendants and were not compensated

      at a rate of one and one-half times their respective hourly rates for that work.

   22. Defendants refused to pay Plaintiffs their final paychecks which are due and owing.

   23. Plaintiffs do not meet any of the recognized exemptions of the FLSA that would preclude them

      from receiving time and one-half for work performed in excess of forty (40) hours per week.
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   24. Defendants terminated Plaintiff Maria Brannon’s employment because she is a woman.

   25. Defendants paid Plaintiff Maria Brannon less because she is a woman.

                                      CAUSES OF ACTION
                                   FIRST CLAIM FOR RELIEF
                                    (FLSA and Unpaid Wages)

   26. That the foregoing paragraphs are incorporated by reference as if set forth verbatim.

   27. That at all times material to this action, Plaintiff Benjamin Curl was employed by Defendants

      and frequently worked in excess of forty (40) hours per week in performance of the duties

      assigned by Defendants.

   28. That at all times material to this action, Plaintiff Jamey Phillips was employed by Defendants

      and frequently worked in excess of forty (40) hours per week in performance of the duties

      assigned by Defendants.

   29. That all times material to this action, Plaintiff Maria Brannon was employed by Defendants and

      frequently worked in excess of forty (40) hours per week in performance of the duties assigned

      by Defendants.

   30. That Plaintiffs were not given their final paychecks when their employment was terminated and

      other wages when Defendants terminated their employment.

   31. That Plaintiffs are not exempt from compensation requirements of the FLSA under any of the

      exemptions set forth in the Act. Defendants has a statutory duty to maintain accurate time

      records covering all hours worked by Plaintiffs and to compensate them at or above the

      applicable federal minimum wage for all hours worked.

   32. That Plaintiffs are not exempt from overtime requirements of the FLSA under any of the

      exemptions set forth in the Act. Defendants has a statutory duty to maintain accurate time

      records covering all hours worked by Plaintiffs and to compensate them at the rate of one and
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       one-half times (1 ½ times) their hourly wage for all time worked in excess of forty (40) hours

       per week.

   33. That Defendant’s failure to maintain accurate time records and to properly compensate Plaintiffs

       for their wages and overtimes hours worked was a knowing, willful, and intentional violation of

       the FLSA.

       WHEREFORE, premises considered, Plaintiffs pray for monetary judgment in their favor

and against Defendants, liquidated damages, punitive damages, attorney fees and costs, and all other

just and proper relief as deemed appropriate by the court.

                              SECOND CLAIM FOR RELIEF
              (Title VII Gender Discrimination and Lily Ledbetter Fair Pay Act)

   34. The foregoing paragraphs are incorporated by reference as if set forth verbatim.

   35. This claim is brought by Plaintiff Maria Brannon against Defendants.

   36. Plaintiff was treated differently because she was a woman.

   37. Plaintiff performed a job that required substantially equal skill, effort, and responsibility

       under similar working conditions as the men she worked with, yet received less pay.

   38. Plaintiff was paid less because she was a woman even though she performed the same job.

   39. Plaintiff was performing her job adequately and meeting employer expectations.

   40. Defendants fired Plaintiff because she was a woman.

   41. Defendants engaged in unlawful employment practices by allowing Plaintiff to be treated

       differently due to her gender and violated Title VII of the Civil Rights Act of 1964.

       WHEREFORE, Plaintiff prays for judgment against Defendants for:

       a. Back pay and lost benefits;

       b. Front pay;
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      c. Punitive damages for the intentional and knowing acts of discrimination committed by

         Defendants and his management and executives;

      d. Attorneys fee and the costs and expenses of this action;

      e. Equitable relief;

      f. Such other relief as the Court deems just and appropriate.

                                           Respectfully submitted,

                                           s/ Caleb M. Salmon

                                           Caleb M. Salmon, OBA # 32272
                                           SALMON LAW FIRM
                                           5800 E. Skelly Drive, Ste. 575
                                           Tulsa, OK 74135
                                           P: 918-524-9500
                                           F: (918) 524-9555
                                           E: caleb@salmonlawfirmok.com
